Case: 1:10-cr-00168 Document #: 8 Filed: 03/23/10 Page 1 of 1 Page|D #:41

 

§ __ __
uNITEn sTATEs merch Co gee -
Noa'rHERN merch oF rLLrNois
219 sourn DEARBORN sTREET
cHIcAGo rumors 60604

 

MICHAEL W. DOBBINS (}FFICE OF THE CLERK

Cl k fC t
er 0 our March15,2010 F|LED

Western District of South Dakota ._. . - -
515 Nimh street MAR l 8 2515

name cicy, so 57701 i:§_g,
Re: Ronald lones ' "
Cnse: 10 CR 168

Dear Clerk of Couri:

Enclosed please find the certified copy of the docket entries in connection with removal proceedings
conducted in this Disrrict regarding the above named defendani.

As of januaryl 3, 2005 for civil and criminal cases, our court uses electronic case liling. You mayaccess
our electronic case file and print copies of electronicallyliled documean by following the procedures on
the accached Insrrucrion Sheer_ You will need Adobe Acrobnr reader loaded on your compurer in order
co viewche documents ll you are an electronic courr, you mayupload die documents Please DO NOT
MMEMMST CT N S EETA PART OF T E FICIAL R CORD
as ir concerns your login and password co our sysrern This login and password should nor be s hared winch

anyone other than federal court personnel who would have a need co access our electronic case lile
system

 

All documean filed prior to electronic filing are included in this transfer package

Subsequent paper documean filed alter ij leO§ are also inelucled:
'Uiere are no paper documents

Please acknowledge receipt of the above documents on the enclosed copy of this letter.
Sincercl§,' yours,

COPY Michael W. Dobbins, Clerk
DRIG. FILED

MAR 18 2018 by: Laura Springer

JQSE§EI§AAS Dcputy Clerk F l L E D l

3 `a?>- l©
en ios-.'EOWS'"'" l MAR 2 3 2010

wise v~ M

 

q MICHAEL W. DOBB|NS
n ; 14 CLEBK. U.S. DISTR|CT COURT

 

 

